Case 0:11-cv-62280-WJZ Document 11 Entered on FLSD Docket 01/11/2012 Page 1 of 11
Case 0:11-cv-62280-WJZ Document 11 Entered on FLSD Docket 01/11/2012 Page 2 of 11
Case 0:11-cv-62280-WJZ Document 11 Entered on FLSD Docket 01/11/2012 Page 3 of 11
Case 0:11-cv-62280-WJZ Document 11 Entered on FLSD Docket 01/11/2012 Page 4 of 11
Case 0:11-cv-62280-WJZ Document 11 Entered on FLSD Docket 01/11/2012 Page 5 of 11
Case 0:11-cv-62280-WJZ Document 11 Entered on FLSD Docket 01/11/2012 Page 6 of 11
Case 0:11-cv-62280-WJZ Document 11 Entered on FLSD Docket 01/11/2012 Page 7 of 11
Case 0:11-cv-62280-WJZ Document 11 Entered on FLSD Docket 01/11/2012 Page 8 of 11
Case 0:11-cv-62280-WJZ Document 11 Entered on FLSD Docket 01/11/2012 Page 9 of 11
Case 0:11-cv-62280-WJZ Document 11 Entered on FLSD Docket 01/11/2012 Page 10 of 11
Case 0:11-cv-62280-WJZ Document 11 Entered on FLSD Docket 01/11/2012 Page 11 of 11
